18-23325-rdd        Doc 24      Filed 05/29/19           Entered 05/29/19 19:00:50      Main Document
                                                        Pg 1 of 7


MARK E. COHEN, ESQ.                                                 MOTION DATE: JUNE 18, 2019
ATTORNEY FOR SECURED CREDITOR                                       MOTION TIME: 10:00AM
BANK OF AMERICA, N.A.
108-18 QUEENS BOULEVARD
4TH FLOOR, SUITE 3
FOREST HILLS, NEW YORK 11375
TELEPHONE (718) 258-1500
EMAIL: MECESQ2@AOL.COM

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------X
In re:                                                        Chapter 11

Ortiz Family Estates LLC,                                     Case No. 18-23325-rdd

         Debtor.
----------------------------------------------------X

         OPPOSITION TO DEBTOR’S MOTION RECLASSIFYING CLAIM NO. 1

        Bank of America, N.A., secured creditor in the above-entitled Bankruptcy

proceeding, its assignees and/or successors in interest (hereinafter “Secured Creditor”),

holds the senior lien on the subject property generally described as 316 Garfield

Avenue, Jersey City, New Jersey (hereinafter “Subject Property”), and hereby submits

the following opposition to Debtor’s Motion Reclassifying Claim No. 1 filed by Bank of

America, N.A. (hereinafter "Motion"):

        1. Secured Creditor is the current holder of the senior lien on the Subject Property

and filed its proof of claim, as appears on the Claims Register of this case as Claim #1.

Secured Creditor derives its status as a result of a Mortgage and Note dated March 18,

2010. A copy of the Mortgage is annexed hereto as Exhibit “A” and a copy of the Note is

annexed hereto as Exhibit “B.”

        2. The Note dated March 18, 2010 was executed by Bryan Lyles, who was and

remains the obligor of the loan and only borrower in the underlying transaction with whom




                                                                                   1
18-23325-rdd    Doc 24    Filed 05/29/19    Entered 05/29/19 19:00:50     Main Document
                                           Pg 2 of 7


Secured Creditor transacted the loan herein.

       3. By deed dated August 9, 2019 and recorded on August 29, 2018 at 12:23pm,

Bryan Lyles transferred his interest in the Subject Property to the Debtor. A copy of the

deed as recorded is annexed hereto as Exhibit “C.”

       4. At or about 3:55pm of that same date, Debtor filed the instant Chapter 11

bankruptcy petition.

       5.   Secured Creditor alleges that based on the timing of the transfer and

subsequent filing of the bankruptcy, the sole purpose of this transfer was to take

advantage of the bankruptcy law which allows certain secured debts to be reduced

through the valuation mechanism of Section 506.

       6. Debtor is not obligated to pay the debt on the Subject Property to Secured

Creditor. Bryan Lyles is the Obligor and Mortgagor.

       7. Moreover, the transfer as executed in favor of Debtor in this case is a basis for

the acceleration of the debtor as provided in paragraph 9(b) of the Mortgage.

       8. Upon Debtor’s present motion, this Court of equity is now being asked to ignore

the provisions of an enforceable contract and force Secured Creditor to accept the Debtor

as a new obligor, without being allowed the opportunity to weigh the standard risks

involved in extending credit.

       9. This Court of equity is also being asked to allow a non debtor obligor to reduce

its debt through the bankruptcy filing of a third party.

       10. Secured Creditor contends that if this action were allowed, it would condone

abuse of the bankruptcy system by permitting people to escape financial obligations

without ever filing for bankruptcy. From a public policy position alone, this conduct cannot




                                               2
18-23325-rdd    Doc 24    Filed 05/29/19    Entered 05/29/19 19:00:50      Main Document
                                           Pg 3 of 7


be ordained by this Honorable Court. The bankruptcy laws as designed are intended to

allow parties filing for bankruptcy to reorganize their own debt, not the debts of others.

       11. In the instant case, although the Subject Property may have come into the

estate hours prior to the Filing Date, Debtor holds no debt on the Property and should not

be allowed to reduce the amount owed on that debt if it is not owed by the Debtor.

       Section 506(d) Does Not Apply To Secured Loans For Which The Debtor Is
       Not The Borrower

       12. Section 506(d) of the Bankruptcy Code provides as follows:

       “To the extent that a lien secures a claim against the debtor that is not an allowed

secured claim, such lien is void…” [11 U.S.C. §506(d)(emphasis added)].

       This section does not allude to a claim against the estate. It is a personal

obligation that is described.

       13. In this case, the Secured Creditor’s lien does not secure a claim against this

Debtor. The Debtor is not the Obligor and there is no privity of contract by and between

Secured Creditor and Debtor. Despite the holding in Johnson v. Home State Bank, 501

U.S. 78, 111 S.Ct. 2150 (1991) and its progeny which broadly defines who holds claims

in a bankruptcy estate, there is no claim here. This is a Debtor attempting to value the lien

of a third party Obligor who is not in bankruptcy.

       14. Although privity can sometimes become an issue in valuation cases, those

cases usually involve a debtor who is trying to reduce the amount of a lien in which the

debtor holds hold an interest. The Debtor herein is now claiming to stand in the shoes of

the party that is the Obligor, trying to reduce a claim on which it owes not money and

which would benefit the Obligor over whom this Court has no jurisdiction.




                                              3
18-23325-rdd    Doc 24    Filed 05/29/19    Entered 05/29/19 19:00:50      Main Document
                                           Pg 4 of 7


       15. “Privity is a threshold issue in this case, and despite the Plaintiff's assertions

otherwise, it absolutely matters what party is seeking a modification of rights under the

DOT.” See In Duran v. N.C. Hous. Fin. Agency (In re Duran), CASE NO.

14-03451-5-DMW, at *7 (Bankr. E.D.N.C. Oct. 14, 2015). The Duran court went on to say

“If the Claim were bifurcated as the Plaintiff requests, and the unsecured portion of the

Claim were treated as an unsecured claim through the Plaintiff's Chapter 13 plan, the

Claim would be deemed satisfied upon the Plaintiff's receipt of a discharge pursuant to

11 U.S.C. § 1328 [however]…the Claim has never been against the Plaintiff. This

outcome would hinder the rights of the parties…under the Note secured by the DOT.”

The court went onto say that a court cannot extinguish the personal liability of

non-debtors, citing Alvarez v. HSBC Bank USA, N.A. (In re Alvarez), 733 F.3d 136, 142

(4th Cir. 2013)[ the court is without authority to strip a lien on entireties property unless

both spouses submit to the jurisdiction of the bankruptcy court by filing a joint petition.].

Similarly, this Court cannot exercise jurisdiction over the underlying obligation against the

Obligor and cannot modify the loan.

       16. The Debtor is a third-party that has no obligation on the underlying loan and

has no standing to value the amount owed. Debtor has no legal or equitable interest and

attempts to include such property as part of Debtor’s estate contrary to 11 U.S.C.

§541(d).

       WHEREFORE, the Secured Creditor respectfully prays for an order denying

Debtor’s Motion Reclassifying Claim be denied in all respects, or together with such other




                                              4
18-23325-rdd   Doc 24    Filed 05/29/19    Entered 05/29/19 19:00:50   Main Document
                                          Pg 5 of 7


and further relief as this Court deems just and proper.

Dated: Forest Hills, New York
       May 29, 2019                       MARK E. COHEN, ESQ.
                                          By: /s/ Mark E. Cohen, Esq.
                                          Attorney for Secured Creditor
                                          Bank of America, N.A.
                                          108-18 Queens Boulevard
                                          4th Floor, Suite 3
                                          Forest Hills, New York 11375
                                          Telephone (718) 258-1500
                                          Our File No. FHAC.241-7677.NF




                                             5
18-23325-rdd    Doc 24    Filed 05/29/19    Entered 05/29/19 19:00:50      Main Document
                                           Pg 6 of 7


                               CERTIFICATE OF SERVICE

     I, Mark E. Cohen, certify under penalty of perjury that I am not a party to this action,
am over 18 years of age.

       That on May 29, 2019 I served the OPPOSITION TO DEBTOR’S MOTION
RECLASSIFYING CLAIM NO. 1 by the Court’s electronic filing system and regular U.S.
Mail addressed to the following at the addresses listed below:

TO:    Chapter 11 Debtor: Ortiz Family Estates LLC, 22 S. Madison Ave., Suite A,
       Spring Valley, NY 10977

       Debtor’s Counsel: Linda M. Tirelli Esq., Tirelli Law Group, LLC, 50 Main Street
       Suite 405, White Plains, NY 10606

       United States Trustee: Office of the United States Trustee, Southern District of
       New York, U.S. Federal Office Building, 201 Varick Street, Room 1006, New
       York, NY 10014

       Also Served:
       Davidson Fink LLP, Attorney for Secured Creditor Bank of America, N.A., 28
       East Main Street, Suite 1700, Rochester, NY 14614

       Brian Lyles, 316 Garfield Avenue, Jersey City, NJ 07305

Dated: Forest Hills, New York
       May 29, 2019                        MARK E. COHEN, ESQ.
                                           By: /s/ Mark E. Cohen, Esq.
                                           Attorney for Secured Creditor
                                           Bank of America, N.A.
                                           108-18 Queens Boulevard
                                           4th Floor, Suite 3
                                           Forest Hills, New York 11375
                                           Telephone (718) 258-1500
                                           Our File No. FHAC.241-7677.NF




                                              6
18-23325-rdd        Doc 24       Filed 05/29/19        Entered 05/29/19 19:00:50               Main Document
                                                      Pg 7 of 7


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------------------------------------------------
----------------------------------------------------------------------------------------------------------------------
In re:
                                                                Case No. 18-23325-rdd
Ortiz Family Estates LLC,
                                                                CHAPTER 11
         Debtor.
----------------------------------------------------------------------------------------------------------------------
----------------------------------------------------------------------------------------------------------------------

          OPPOSITION TO DEBTOR’S MOTION RECLASSIFYING CLAIM NO. 1

----------------------------------------------------------------------------------------------------------------------
----------------------------------------------------------------------------------------------------------------------

                                          MARK E. COHEN, ESQ.
                                        Attorney for Secured Creditor
                                            Bank of America, N.A
                                          108-18 Queens Boulevard
                                              4th Floor, Suite 3
                                        Forest Hills, New York 11375
                                         Telephone: (718) 258-1500
                                         Facsimile: (718) 793-1627

----------------------------------------------------------------------------------------------------------------------
----------------------------------------------------------------------------------------------------------------------




                                                           7
